     Case 2:14-cv-02057-SMM        Document 229       Filed 10/19/17   Page 1 of 3



     QUARLES & BRADY LLP
 1
     Gregory P. Sitrick
 2   Isaac S. Crum
     One Renaissance Square
 3   Two North Central Avenue
 4   Phoenix, Arizona 85004-2391
     Telephone: (602) 229-5317
 5   Facsimile: (602) 420-5198
     E-mail: Gregory.Sitrick@quarles.com
 6
      Isaac.Crum@quarles.com
 7
     HARVEY SISKIND LLP
 8 D. Peter Harvey (admitted pro hac vice)
                              th
 9 Four Embarcadero Center, 39 Floor
   San Francisco, CA 94111
10 Telephone: (415) 354-0100
   Facsimile: (415) 391-7124
11 E-mail: pharvey@harveysiskind.com

12
     Attorneys for Defendant and Counterclaimant
13 Jack Daniel’s Properties, Inc.

14
                            IN THE UNITED STATES DISTRICT COURT
15
                                FOR THE DISTRICT OF ARIZONA
16

17 VIP Products, LLC, an Arizona limited          )
   liability company,                             ) Case No. CV 14-02057 PHX SMM
18                                                )
               Plaintiff,                         )
19                                                )    NOTICE OF FILING OF TRIAL
   v.                                             )              EXHIBITS
20                                                )
   Jack Daniel’s Properties, Inc., a Delaware     )
21 corporation,                                   )
                                                  )
22             Defendant.                         )
                                                  )
23 And Related Counterclaims.                     )
                                                  )
24

25         Please take notice: For the convenience of the court and for completeness of the
26 record, Defendant, Jack Daniel’s Properties, Inc., (“Jack Daniel’s”) hereby submits

27 electronic copies of the joint exhibits and Jack Daniel’s exhibits used at trial by Jack
28 Daniel’s. (With the exception of the physical exhibits (Ex. 1 & 2) and the media/native-

                                                -1-
      NOTICE OF FILING OF TRIAL EXHIBITS                               NO. CV-14-2057-PHX-SMM
     Case 2:14-cv-02057-SMM      Document 229          Filed 10/19/17   Page 2 of 3




 1 file exhibits (Ex. 107, 109, 110, 111, 136, 146, 147, & 173) which may be submitted

 2 physically should the Court so desire, but otherwise are available at undersigned counsel’s

 3 office upon request.)

 4

 5
     Dated: October 19, 2017,
 6

 7                                                      /s/ Isaac S. Crum
                                                      Gregory P. Sitrick (AZ Bar #028756)
 8                                                    Gregory.Sitrick@quarles.com
                                                      Isaac S. Crum (AZ Bar #026510)
 9                                                    Isaac.Crum@quarles.com
                                                      Quarles & Brady LLP
10                                                    Firm State Bar No. 00443100
                                                      One Renaissance Square
11                                                    Two North Central Avenue
                                                      Phoenix, AZ 85004
12                                                    Telephone (602) 229-5200
                                                      Fax (602) 229-5690
13
                                                      D. Peter Harvey (admitted pro hac vice)
14                                                    pharvey@harvey.law
                                                      Harvey & Company
15                                                    Four Embarcadero Center, 14th Floor
                                                      San Francisco, CA 94111-4164
16                                                    Telephone: (415) 926-7776
                                                      Facsimile: (415) 402-0058
17
                                                      Attorneys for Defendant and
18                                                    Counterclaimant
                                                      JACK DANIEL’S PROPERTIES, INC.
19

20

21

22

23

24

25

26

27
28

                                                -2-
      NOTICE OF FILING OF TRIAL EXHIBITS                                NO. CV-14-2057-PHX-SMM
     Case 2:14-cv-02057-SMM       Document 229        Filed 10/19/17   Page 3 of 3




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on October 19, 2017, I electronically filed the foregoing with
 3 the Clerk of Court using the CM/ECF system, which will send a notification of such

 4 filing (NEF) to all counsel of record in this case.

 5

 6                                               /s/ Isaac S. Crum
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28

                                                -3-
      NOTICE OF FILING OF TRIAL EXHIBITS                               NO. CV-14-2057-PHX-SMM
